         Case 4:19-cv-00961-KOB-JHE Document 4 Filed 06/24/19 Page 1 of 1                             FILED
                                                                                             2019 Jun-24 AM 11:23
                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


                             UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   MIDDLE DIVISION

    BALBIR SINGH,                                   )
                                                    )
          Petitioner,                               )
                                                    )
    v.                                              )   Case No.: 4:19-cv-00961-KOB-JHE
                                                    )
    MARK MORGAN, et al.,                            )
                                                    )
          Respondents.                              )
                                                    )

                             NOTICE OF DEFICIENT PLEADING

         On June 21, 2019, Petitioner Balbir Singh filed this habeas action through counsel. (Doc.

1). However, Petitioner did not pay the $5.00 habeas filing fee or move for leave to proceed in

forma pauperis. Petitioner is required to correct this deficiency within thirty (30) days from the

entry date of this Order.1

         If Petitioner fails to correct the deficient pleading in compliance with this notice

within thirty (30) days from the entry date of this notice, the court will dismiss this case for

want of prosecution. Fed. R. Civ. P. 41(b).

         DONE this 24th day of June, 2019.



                                              _______________________________
                                              JOHN H. ENGLAND, III
                                              UNITED STATES MAGISTRATE JUDGE




1
 Counsel may have attempted to pay the filing fee through CM/ECF when they filed the petition.
Unfortunately, it appears payment through CM/ECF is not available in a habeas action. If
Petitioner intends to pay the filing fee, counsel are DIRECTED to contact the Clerk of Court for
payment instructions.
                                                1
